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                              EXHIBIT 2
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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                                   Civil Action No. 21-60125-Civ-Scola/Snow

    Jiangmen Benlida Printed Circuit
    Co., Ltd.,

          Plaintiff,

    v.

    Circuitronix, LLC,


          Defendant.




                   ANALYSIS OF PAYABLES RECONCILIATION

                                  PREPARED BY

            BARRY MUKAMAL, CPA/PFS/ABV/CFE/CFF/CIRA/CGMA

                                        and

                       MARK PARISI, CPA/CFE/CIRA/CTCE




                                   June 8, 2023
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    Attachments

             Attachment 1     Curriculum Vitae of Barry Mukamal
             Attachment 1.1   Testimony Record of Barry Mukamal

             Attachment 2     Curriculum Vitae of Mark Parisi
             Attachment 2.1   Testimony Record of Mark Parisi

    Exhibits

             Exhibit 1        Documents Utilized




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    Report


   I.         INTRODUCTION

    1.        KapilaMukamal, LLP and Barry E. Mukamal, CPA (“KM” or “Mukamal”), and Citrin
              Cooperman, LLC and Mark Parisi (“Citrin” or “Parisi”) have been retained by legal counsel
              for Circuitronix, LLC, Chauncey Cole, PA (“Counsel”), to:
                   •      Analyze the accounts payable reconciliations prepared by Benlida1 and CTX2 as of
                          July 31, 2019.
                   •      Examine and summarize calculations prepared by CTX with respect to lead time
                          penalties owed from Benlida.

    2.        We3 have not been requested to perform, nor have we performed, analysis beyond what
              was required for the analysis presented in this Report.4 Our analysis was performed using
              records of CTX, including records extracted from the accounting system of CTX as listed
              in Exhibit 1 herein. We were not engaged to, and did not, perform any attestation or audit
              procedures with respect to the summary analyses presented herein. We relied on the
              records of CTX as produced, the CTX Recon,5 and the Benlida Recon,6 and did not
              perform any additional procedures to provide assurance as to their reliability beyond the
              procedures enumerated herein.


    3.        The information and analyses contained in this Report are based upon the specific facts
              and circumstances in this proceeding. We reserve the right to supplement this Report as
              necessary, to the extent any other relevant information becomes available between the
              date of this Report and the date that we may testify in this proceeding.7




    1 Jiangmen Benlida Printed Circuit Co., Ltd.
    2 Circuitronix, LLC
    3 “We” refers collectively to KM, Mukamal, Citrin and Parisi.
    4 We have, however, also conducted a preliminary analysis of CTX’s payments to ROK Printed Circuit Co., Ltd. (“ROK”), and

    Circuitronix (Hong Kong) Ltd.’s payments to Benlida and ROK to have available if necessary as a reference for a rebuttal to
    Benlida’s forthcoming expert report.
    5 As defined in ¶13
    6 As defined in ¶14._
    7 To state just one example, we have not yet been provided any transcripts of depositions taken recently (late May into June 1 ,

    2023).

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   II.        PROFESSIONAL QUALIFICATIONS

         Barry Mukamal


    4.        I, Barry E. Mukamal, am Co-Managing Partner at KapilaMukamal, LLP. I am a Certified
              Public Accountant (“CPA”) licensed in Florida. My Curriculum Vitae is attached hereto as
              Attachment 1 and includes additional details of my professional qualifications and
              experience.

    5.        I possess over 40 years of experience in the public accounting profession and financial
              services industry. I am accredited in business valuation (“ABV”) and hold accreditation as
              a personal financial specialist (“PFS”), certified fraud examiner (“CFE”), and certified in
              financial forensics (“CFF”) and am a Certified Insolvency and Restructuring Advisor
              (“CIRA”). Areas of expertise include financial accounting, business valuation, forensic
              (investigative) accounting in litigation proceedings, economic damages, bankruptcy and
              insolvency matters. I have been appointed and currently serve as a Bankruptcy Panel
              Trustee in the Southern District of Florida. My prior experience includes consulting and
              expert testimony in numerous arbitration and litigation matters. A list of cases in which I
              have previously provided expert testimony is also included in Attachment 1.1. I expend
              approximately 50% of my billable hours for expert testimony work, of which approximately
              60% pertains to plaintiff representation, and approximately 40% pertains to defense
              representation.

    6.        Other professionals at KM have worked on this engagement under my supervision and
              direction. I have reviewed and am familiar with all such procedures performed and work
              product prepared. Fees for professional services provided are based on hours actually
              expended by each assigned staff member extended by the standard hourly billing rate for
              that individual. Hourly billing rates for professional staff working on this matter range from
              $160 to $650. Fees are not contingent on the outcome of this matter.




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     Mark Parisi8

    7.       I, Mark Parisi, am a Director in Citrin Cooperman Advisors LLC’s Forensic, Litigation &
             Valuation Services Group. Citrin Cooperman Advisors LLC is an accounting and consulting
             firm that, among other things, provides business, economic, financial, and damages
             consulting services to clients in a variety of industries. My Curriculum Vitae is attached
             hereto as Attachment 2 and includes additional details of my professional qualifications
             and experience.


    8.       I am a Certified Public Accountant in the state of Florida. I am also a Certified Fraud
             Examiner, Certified Insolvency and Restructuring Advisory, and Cryptocurrency Tracing
             Certified Examiner. Additionally, I have a Master of Business Administration degree with a
             specialization in Business Intelligence and Analytics from Nova Southeastern University. A
             list of cases in which I have previously provided expert testimony is also included in
             Attachment 2.1.



     III.    BACKGROUND AND INFORMATION FROM COUNSEL

    9.       Benlida is an entity formed in, and maintains its principal place of business in, the People’s
             Republic of China (“PRC”). Benlida is engaged in the manufacture and sale of printed
             circuit boards (“PCBs”).


    10.      Circuitronix LLC (“CTX”) was incorporated in, and maintains its principal place of business
             in, the state of Florida in the USA. CTX is engaged in the retail sale of PCBs.

    11.      Benlida alleges that CTX has failed to make payments for certain PCBs that CTX
             purchased from Benlida in 2018, 2019 and 2020. Benlida also claims additional amounts
             owed from CTX due to purported agreed-upon price increases.

    12.      CTX alleges that Benlida has not properly credited all payments made by CTX (which CTX
             claims exceed $70 million) and further, that Benlida owes CTX significant amounts due to




    8 Mark Parisi was employed at KM until January 31, 2023.



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             overpayments that have accumulated over the course of the Parties’ relationship,9 and
             late payment penalties owed from Benlida.



     IV.     WORK PERFORMED AND ANALYSIS


          A. Summary of Transactions between CTX and Benlida


    The Reconciliation Period (April 2012 through July 31, 2019)


    13.      On November 1, 2019, CTX sent Benlida an email including its reconciliation of
             Transactions10 between CTX and Benlida through July 31, 2019 (the “CTX Recon”).11 The
             CTX Recon included the following:
                  •       Annual totals of Transactions between CTX and Benlida from 2012 through July
                          2019, i.e., the Reconciliation Period.
                  •       For each month in the Reconciliation Period, CTX provided a detail of
                          Transactions including invoices, payments and debit memos (“DMs”) processed
                          during such month.
                  •       In the aggregate, CTX claimed that Benlida owed $5.3 million through July 31,
                          2019.12


    14.      In response, on November 14, 2019, Benlida sent its own payables reconciliation to CTX
             including details of Transactions with CTX (the “Benlida Recon”).13                       In the aggregate,
             Benlida claimed that it owed $4.07 million to CTX as of July 31, 2019.


    15.      From the Transaction detail included in the CTX Recon and the Benlida Recon, we
             compiled a detailed database and identified Transaction level discrepancies between the
             two reconciliations, which are summarized below:



    9 Counterclaim, ¶1.
    10 Transactions herein refers to individual invoices, payments and debit memos.
    11 Benlida Payment Details CTX-US_2012-2019.xls
    12 Not including Lead Time Penalties claimed by CTX after January 2016.
    13 2012-2019reconciliation analysis-2019.11.15 CCT. The Benlida Recon included CTX’s Transactions with both Benlida and
    ROK. The analysis herein is limited to CTX’s Transactions with Benlida.

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             Table 1: Summary of the CTX Recon and the Benlida Recon14
                                           CTX Recon     Benlida Recon     Difference
              Payments                   $   67,728,456 $      67,636,070        92,386
              Invoices                      (65,176,316)      (65,839,234)      662,918
              Debit Memos                     2,762,729         2,275,790       486,939
                       Owed to CTX USA
                                         $    5,314,869 $       4,072,625 $ 1,242,243
                       through July 2019


    Payments
    16.      In the aggregate, CTX’s payments to Benlida exceeded $67 million during the
             Reconciliation Period. There is concurrence between the Parties as to over 99% of these
             payments, leaving only a difference of $92,386. Our analysis reveals that the payment
             difference of $92,386 is attributable to (i) payments made by CTX which were not listed in
             the CTX Recon, (ii) payments made by CTX which were not listed in the Benlida Recon
             and (iii) certain payments disallowed by Benlida because they were due to OSP payments,
             investment in Imm tin line etc.15

    17.      Records provided to us include an email from Benlida on March 21, 2017, wherein Benlida
             directed CTX to make payments for OSP chemicals to ROK.16 We are advised by CTX
             that the OSP payment that was disallowed in the Benlida Recon was actually paid by CTX
             to ROK (not Benlida), and therefore, the CTX Recon did not include OSP payments to
             Benlida.


    18.      Based on the foregoing, our analysis of Payments during the Reconciliation Period is
             summarized in Table 2 below:




    14 Does not include Transactions between CTX and ROK, which have been separately analyzed in case they are necessary for a

    rebuttal opinion but are not pertinent to this Report.
    15 See Table 2 below.
    16 Email dated March 21, 2017 from tracy@benlida.com to Rishi Kukreja.



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    Table 2: Analysis of Payments -Reconciliation Period
                                                          CTX Recon        BLD Recon                       Difference
    Concurring Payments                    $                  65,158,530 $    65,158,530
    CTX Payments claimed in CTX Recon
                                                                 2,229,926
    not in Benlida records
    CTX Payments not included in CTX
                                                                                $          2,477,539
    Recon per Benlida records
    CTX Payments disallowed by Benlida
         OSP Payment 1                                             235,000
         Decoration Fee2                                            25,000
         Imm tin line2                                              80,000
                Totals per Recon (Table 1) $                    67,728,456 $             67,636,070 $             92,386

    Adjustments:
       Decoration Fee2                                             (25,000)
       Imm tin line2                                               (80,000)
          Totals per Recon, as Adjusted                         67,623,456               67,636,070 $            (12,614)

    (1) As discussed in the Report, CTX payments for OSP charges were made to ROK (not Benlida). Therefore, OSP
    payments are not included in total payments to Benlida as listed in the CTX Recon, and cannot b e disallowed herein.
    (2) Per discussion with CTX, CTX's payments for the Decoration fee and Imm tin line are excluded from this analysis.




    Invoices
    19.      The Benlida Recon claims that Benlida remitted invoices totaling almost $66 million to
             CTX during the Reconciliation Period. There is concurrence between the Parties as to
             almost 99% of these invoiced amounts, leaving a difference of $662,918. Our analysis
             reveals that the aggregate invoice difference of $662,918 is comprised of the following:




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   Table 3: Analysis of Invoice Discrepancy – Reconciliation Period
                                    CTX Recon          BLD Recon                         Difference
   A Concurring Invoices        $ 29,274,934 44.9% $ 29,274,934 44.5%              $        -     0.0%
     Invoices with amount
     discrepancies between
   B                       $ 35,901,382         55.1% $ 36,320,055        55.2%    $ (418,673)     -0.6%
     the Benlida Recon and
     the CTX Recon

      Invoices in Benlida
   C Recon not listed in                   -     0.0%          244,245    0.4%         (244,245)   -0.4%
      CTX Recon
   D = A+B+C                    $ 65,176,316 100.0% $ 65,839,234         100.0% $ (662,918)        -1.0%


   20.      As discussed below, CTX informs that the invoice amount discrepancies totaling $418,673
            (“B” above) result from CTX’s adjustments to Benlida’s invoice amounts due to differences
            in (i) unit price and (ii) purchase volume.


   21.      We are informed that Benlida’s invoices to CTX generally include multiple items, and each
            item thereon is associated with a unit price and quantity billed. CTX advises that on
            occasion, the unit price billed in Benlida’s invoice diverged from the unit price reflected on
            CTX’s corresponding PO17 for such item. Similarly, on occasion, the quantity billed in
            Benlida’s invoice diverged from the quantity received by CTX. CTX contends that these
            variances in price and quantity have resulted in the aggregate discrepancy of $662,918
            above.

   22.      No further procedures were performed with respect to Invoice differences between CTX
            and Benlida.




   Debit Memos
   23.      In comparing the CTX Recon and the Benlida Recon, we identified debit memos (“DMs”)
            issued by CTX to Benlida totaling $486,939, which DMs were listed in the CTX Recon but
            are not included in the Benlida Recon.


   17 Purchase Order



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   24.       To investigate further, we judgmentally selected DMs with an amount in excess of
             $10,000,18 which were claimed only in the CTX Recon. In each instance, the date and
             amount of the debit memo were consistent with the date/amount listed in the CTX Recon.
             Of these 11 DMs, 9 DMs were due to lead-time exceedances, one DMs was due to late
             delivery charges, and one DMs was due to product quality.

   25.       We observed that until January 2016, CTX issued DMs to Benlida for reasons including
             lead-time exceedances/lead-time penalties (“LTP”). From February 2016 forward, CTX
             ceased issuing DMs for LTPs. Instead, CTX’s issuance of debit memos to Benlida were
             for reasons other than LTP, such as product quality or late delivery charges etc.

   26.       LTPs for the period subsequent to January 2016 are discussed in a subsequent section
             of this Report.

   27.       Records provided to us include an email from Benlida to CTX on July 28, 2016 (the “July
             2016 Email”).19 This email includes as attachments (i) minutes of a meeting between CTX
             and Benlida on July 25, 2016, (ii) a spreadsheet “cancel amount and payment.xls”20 which
             lists penalties canceled by CTX or charges to be paid by CTX, and (iii) multiple supporting
             spreadsheets.


   Table 4: “Cancel amount and payment” spreadsheet enclosed with the July 2016 Email21
     Item                    Detail                                  Amount             Related docs
       1  cut down half amount on Jan~July 2015                      591,017.00 Copy of All ROK and BLD
          orders penalty                                                        penalties-1.xlsx
       2  wave PQ26 and Imm Tin transation penalty                    75,191.55 LT Penalty waving details.xls
          on Aug~Nov 2015 orders
       3  cancel penalty on Dec 2015 and Jan 2016                    388,279.74 Copy of All ROK and BLD
          orders                                                                penalties-1.xlsx
       4    Imm Tin production investment                            200,000.00
       5    OSP chemical charge (03/2014~02/2016)                    204,779.50 OSP update.xls
                                                                   1,459,267.79




   18 Which yielded a sample of 11 DMs with an aggregate amount of $322,581.
   19 Email from tracy@benlida.org to Rishi Kukreja at CTX on July 28, 2016.
   20 Reproduced as Table 4 below.
   21 Reproduced in its original form.



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   28.       The penalty waivers/cancellations (Items 1-3 in Table 4 above) refer to waivers on LTPs
             claimed by CTX in DMs issued to Benlida prior to February 2016. These “LTP Waivers”
             were supported by spreadsheets (“Related docs” in Table 4 above) which listed specific
             DMs issued by CTX and the associated waiver for each.


   29.       In our analysis, we traced the specific DMs identified in Related docs and associated
             waivers to the CTX Recon and the Benlida Recon. We noted that LTP Waivers pursuant
             to the July 2016 Email were not recorded both in the CTX Recon and the Belinda Recon.
             Based on our analysis, we adjusted aggregate DMs in the CTX Recon and the Belinda
             Recon by the LTP Waiver, as summarized below.



   Table 5: LTP Waivers through January 2016 per the July 2016 Email

                                                           CTX Recon         Benlida Recon
    #1: Jan15-Jul15
    Gross Penalty per DM (1)                           $          505,746 $          505,746
    Waiver @ 50% (2)                           A                 (252,873)          (252,873)

    #2: Aug15-Nov15
    Gross Penalty per DM (1)                           $          192,916 $           76,395
    Waiver @ 14.2% (2,3)                       B                  (27,394)           (10,848)

    #3: Dec15-Jan16
    Gross Penalty per DM (1)                           $          168,755 $          168,755
    Waiver @ 100% (2,3)                        C                 (168,755)          (168,755)

         Total Waivers not in the Recon      A+B+C     $        (449,022) $        (432,476)
    Aggregate Debit Memos per Recon          Table 1   $       2,762,729 $        2,275,790
          Debit Memos, as adjusted                     $       2,313,707    $     1,843,314

    (1) Represents gross amount of penalty per specific DMsfor Item#1,2 and 3 as listed in
    the July 2016 Email
    (2) Waivers per the July 2016 Email. Our review revealed that these waivers were not
    already included in the CTX Recon and the Benlida Recon
    (3) For Item #2, the waiver amount of $75,191.55 (see Table 4) approximated 14.2% the
    underlying gross penalty per the specific DMs listed for Item #2.




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   Lead Time Penalties after January 2016
   30.       As previously discussed, until January 2016 CTX issued DMs to Benlida for reasons
             including lead-time exceedances/lead-time penalties (“LTP”). The LTPs through January
             2016 and associated waivers are summarized in Table 5 above.


   31.       From February 2016 forward, CTX computed LTPs on a monthly basis; however, CTX did
             not issue DMs to Benlida for these LTPs.

   32.       During each month from February 2016 through July 2021, CTX prepared a spreadsheet
             listing each item that was received from Benlida during the month (the “LTP
             Spreadsheet”). For each received item, the LTP Spreadsheet was populated with details
             such as PO Date/No/Quantity, Layer Count, Unit Price, Amount, and Item Receipt Date.
             Based on this information, CTX computed the LTP for each item, if applicable, as follows:

                 •    Step 1: Calculate Vendor Ship Date based on PO Date and the Layer Count in
                      “DATA” Table included in each LTP Spreadsheet. For example, the DATA Table
                      informs that the Vendor Ship Date is 21 days after the PO Date for Layer Count of
                      1, 28 days after the PO Date for Layer Count of 2 etc.
                 •    Step 2: An item was categorized as “Late” if the Item Receipt Date was subsequent
                      to the Vendor Ship Date (Step 1 above), and “Days Late” was computed as the
                      difference between the two dates.
                 •    Step 3: the LTP for “Late” items was computed as the product of the Amount, Days
                      Late (Step 2) and an applicable penalty rate per the “Discount Matrix” tab in each
                      LTP Spreadsheet.


   33.       We selected a judgmental sample of 8 LTP Spreadsheets, and confirmed the accuracy of
             CTX’s computations of LTP per Steps 1-3 above, based on the inputs in the LTP
             Spreadsheets.22 No exceptions were noted.




   22 KM Citrin did not validate the inputs used to compute LTPs.



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   34.       CTX Records provided to us include “Meeting Minutes” of a meeting between CTX and
             Benlida on 10/20/17.23 These minutes inform that:
                •   CTX agreed to waive the LTP for shipments made from March 2017 through
                    October 2017.
                •   From November 2017, the activation period of the lead time penalty clause would
                    be extended if Benlida failed to meet conditions as to both the weekly volume of
                    shipments and production.


   35.       CTX advised that in order to qualify for an extended lead time November 2017 forward,
             Benlida was required to provide weekly reports of volume produced/shipped to CTX.
             These weekly reports were intended to provide assurance to CTX that the volume
             launched into production/shipped by Benlida was sufficient to allow Benlida to qualify for
             extended lead times after November 2017. CTX contends that because Benlida failed to
             provide these weekly reports as required, Benlida is disqualified from obtaining an
             extended time period before incurring LTPs after November 2017.


   36.       We compiled CTX’s monthly LTP Spreadsheets, applied waivers as discussed in ¶31-35
             above, and summarized CTX’s claim for LTP as tabulated below.


   Table 6 – CTX’s claim for LTP after January 2016

                                                            Waivers Per
                                        Total per LTP                     LTP, net of
         LTP Period                                          Meeting
                                        Spreadsheets                       Waivers
                                                             Minutes
    Feb16 through Feb17                  $      832,383        None       $ 832,383
    Mar17 through Oct17                         822,309         (822,309)         -
    Nov17 through Jul19                       1,911,356         (1)         1,911,356
    Aug19 through Jul21                         364,039         (1)           364,039
                                         $    3,930,086    $    (822,309) $ 3,107,778

    (1) CTX contends that, after November 2017, Benlida does not qualify for obtaining an
    extended time period before incurring LTPs.




   23 BLD_00000582 and BLD_00000073.



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   CTX and Benlida: Summary of Amounts Due:
   37.       Based on the foregoing, the payables reconciliation between CTX and Benlida is
             summarized in Table 7 below:


   Table 7: Summary of Payables Reconciliation between CTX and Benlida24
                                                                      Per CTX               Per Benlida              Difference
    Reconciliation Period through July 2019
    Payments                                       Table 2        $     67,623,456 $             67,636,070                  (12,614)
    Invoices                                       Table 3             (65,176,316)             (65,839,234)                662,918
    Debit Memos                                    Table 5               2,313,707                1,843,314                   97,284
                                                                  $      4,760,847 $              3,640,149 $               747,588


    Lead Time Penalties after January 2016
    Lead Time Penalties, net of
                                                   Table 6                3,107,778               N/A
    Waivers

       OWED BY BENLIDA TO CTX                                     $       7,868,625


   ASSUMPTIONS, LIMITATIONS, AND WORK NOT PERFORMED


   38.       We are informed that Benlida seeks a claim for Price Increases after February 2016.
             Counsel has advised us that it is CTX’s position that Benlida failed to satisfy the conditions
             necessary to claim Price Increases. Accordingly, Counsel has directed us to not undertake
             any procedures with respect to the claim for Price Increases.


   39.       Our analysis was performed using records produced by CTX, including records extracted
             from the accounting system of CTX as listed in Exhibit 1 herein. We relied on the records
             of CTX, the CTX Recon and the Benlida Recon as produced, and did not perform any
             attestation or audit procedures to provide assurance as to their reliability beyond the
             procedures enumerated herein.



   24 In addition to the amounts in Table 7, we have been advised that CTX may be claiming additional amounts for (i) payments

   made to ROK on behalf of Benlida, (ii) premium payments by CTX after July 2019, and (iii) additional payments recorded by
   CTX during the Reconciliation Period not included herein. We have not evaluated the propriety or quantification of these claims
   as of the date of this Report. If additional information is provided concerning these items, we reserve the right to supplement this
   Report.

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                                                                                                        Exhibit 1

                              JIANGMEN BENLINDA PRINTED CIRCUIT CO., LTD.,
                                                   V.
                                          CIRCUITRONIX, LLC
                                       CASE NO. 0:21-cv-60125-RNS
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                             Documents Utilized

  No.                                             Document Description
   1    Third Amended Complaint filed June 1, 2021 (Case 21-cv-60125-RNS - DE 26 )
        Defendants Answer and Affirmative Defenses to Plaintiff's Third Amended Complaint and Defendants
   2
        Counterclaim filed on October 15, 2021 (Case 21-cv-60125-RNS - DE 34 )
   3    Benlida Payment Details CTX-US_2012-2019.xls
   4    2012-2019reconciliation analysis-2019.11.15 CCT
   5    Email dated March 21, 2017 from tracy@benlida.com to Rishi Kukreja.
        Email from tracy@benlida.org to Rishi Kukreja at CTX on July 28, 2016 and its attachments including the
   6
        "cancel amount and payment.xls" spreadsheet.
        Debit Memos (BEN-DM20131020, BEN-DM20131203, BEN-DM20140120, BEN-DM20140520, BEN-
   7    DM20140620, BEN-DM20140720, BEN-DM20140820, BEN-DM20140919, BEN-DM20140920, BEN-
        DM20150310, BEN-DM20160321, BEN-DM20171128-2)
   8    Benlida Payment Details CTX-US_2012-2021_v5.xls
        JiangMen Belinda Printed Circuit Co., Ltd Commercial Invoice to Circuitronix dated April 12, 2019
   9
        (Invoice No. CCT-BLD-190412001)
        JiangMen Belinda Printed Circuit Co., Ltd Commercial Invoice to Circuitronix dated August 30, 2019
   10
        (Invoice No. CCT-BLD-190830001)
        JiangMen Belinda Printed Circuit Co., Ltd Commercial Invoice to Circuitronix dated September 3, 2019
   11
        (Invoice No. CCT-BLD-190903002)
   12   Lead Time Penalty Spreadsheets from February 2016 to March 2021.
        “Meeting Minutes” of a meeting between CTX and Benlida on 10/20/17 (BLD_00000582 and
   13
        BLD_00000073)
        Circuitronix, LLC Citibank N.A. Account ending in 2698 Bank Statements for the period from May 1, 2012
   14
        through February 28, 2021
        Email from Rishi Kukreja dated November 11, 2019 subject:Circuitronix, USA payment reconciliation from
   15   1st of April, 2012 until present for Benlida and ROK and its attachements which include "Benlinda Payment
        Details CTX-US_2012-2019.xlsx" and "ROK Payment Details CTX-US-HK_2012-2019.xlsx"
        Responding email from accounting@belinda dated November 14, 2019 re:Circuitronix, USA payment
   16   reconciliation from 1st of April, 2012 until present for Benlida and ROK and its attachment "2012-
        2019reconcilation analysis-2019.11.15 CCT.xlsx"

        Follow up email from accounting@belinda dated November 22, 2016 re:Circuitronix, USA payment
        reconciliation from 1st of April, 2012 until present for Benlida and ROK and its attachements "CTX missing
   17
        inv. Details.xlsx", "Payment Descirpancy(1).xlsx" and "Belinda Shipment and Payment Details CTX-
        HK_2012-2019.xlsx"
   18   Payments from Circuitronix, LLC to Jiangmen Belinda details for the period August 2019 through July 2020
   19   Belinda Complaint Invoices




                                                                                                               Page 1 of 1.......
                                                                         Attachment
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             Barry E. Mukamal, CPA, CIRA, PFS, ABV, CFE, CFF
                                                bmukamal@kapilamukamal.com



 Mr. Mukamal’s career spans more than forty years. He has developed a national
 bankruptcy, insolvency and advisory practice of highly trained professionals spe-
 cializing in a complex array of services in the accounting and advisory industry.
 These services include: (i) forensic and investigative accounting of sophisticated
 white collar crime, occupational fraud and abuse; (ii) expert witness reporting
 and testimony involving complex business litigation and the quantification of
 economic damages; and (iii) matrimonial services to high net worth individuals
 with significant domestic and international assets and business interests.

 In addition to spearheading a practice combining the three disciplines described above, Mr. Mukamal has grown
 to be one of the most reliable and recognizable fiduciaries serving both Federal and State Courts located in the
 Southeastern United States. In his capacity as a Chapter 7 Panel Trustee, Mr. Mukamal has overseen and contin-
 ues to oversee hundreds of cases annually with a significant number of those cases involving a multitude of as-
 set types and business concerns across nearly every industry. He has been appointed Liquidating Trustee and/or
 Plan Administrator in numerous complex cases requiring administration and resolution of multiple Ponzi
 schemes including fraud investigations, quantification of economic damages and resolution of claims. Mr. Muk-
 amal has managed and marketed the completion of construction projects including resolving related creditor
 claims and construction contractor claims. He has been involved in Accountant and Auditor Standard of Care
 and compliance with Professional Standards, accounting and tax engagements and commercial and contract
 damage analysis ranging from small closely-held entities to SEC clients in various industries including insurance,
 manufacturing, distribution, real estate, health care, publishing, agriculture, timeshare developers, seafood
 and aviation.

 Mr. Mukamal’s fiduciary assignments include those as operating Chapter 11/Liquidating Trustee, State Court
 Receiverships, Court Examiner and Financial Advisor to various creditor committees. While performing his du-
 ties in each of these capacities, Mr. Mukamal has been successful in marshaling distressed assets, securing both
 operating and non-operating businesses, preserving their value and realizing recoveries consistently exceeding
 expectations. While advising the Court as an Examiner or as Financial Advisor, Mr. Mukamal has been instru-
 mental in providing even-handed, clear and concise consultation resulting in the ability of the Court and credi-
 tor committees to exercise business judgment and decisions affecting significant interests and hundreds of mil-
 lions of dollars of monetary recoveries and asset preservation.

 Mr. Mukamal’s extensive litigation support experience includes matrimonial dissolution, fraud investigations,
 accounting malpractice and business valuations. He has been involved in numerous high profile, high-net-worth
 divorces involving assets in the U.S. and abroad, equitable distribution, opinions on income and lifestyle and
 asset and business valuations. In addition, he has been retained in investigations and embezzlement issues as-
 sociated with financial fraud schemes such as Ponzi schemes and occupational fraud. His experience also ex-
 tends to lost profits litigation, damages in relation to breach of contract, personal injury and wrongful death
 actions. Mr. Mukamal’s testimony for the plaintiff in a patent damage action facilitated a multi-million dollar
 award for the client.
 Mr. Mukamal has represented debtors, creditors and creditors’ committees in matters of insolvency fraud and
 abuse and assisted trustees in their asset recovery efforts. He has served as Court appointed Receiver and Me-
 diator and has testified as an expert witness at the state, local and federal levels.
 As a Receiver, Mr. Mukamal has utilized his technical skills, abilities and experience on a “hands-on” basis
 which allows him to quickly assess and analyze the current environment of the business. He is well skilled in
 negotiating and positioning. He has participated in both in-court and out-of-court workouts in a variety of in-
 dustries. He has performed forensic investigations to trace flows of funds, investigated fraudulent transfers to
 insiders and related parties and filed lawsuits to recover preferential payments for the estate.
  Case 0:21-cv-60125-RNS Document 197-2 Entered on FLSD Docket 08/08/2023 Page 19 of
                                        26

                                              Barry E. Mukamal, CPA, CIRA, PFS, ABV, CFE, CFF
                                                                               bmukamal@kapilamukamal.com

  AREAS OF EXPERTISE
  Bankruptcy and Insolvency                              Industries Served as Trustee and Professional
  Solvency Opinions
  Business Valuations                                    Real Estate and Construction Companies
  Commercial and Contract Damage Analysis                Insurance Providers
  Contract Disputes                                      Distributors
  Investigation of Commercial Fraud                      Aviation Companies
  Marital Dissolution and Forensic Analysis              Agricultural Companies
  Succession Planning                                    Homeowner Associations
  Accountant and Auditor Standard of Care and            Condo Hotels and Hotels
    Compliance with Professional Standards               Franchise Operations and Franchisors
                                                         Auditor Standard of Care
                                                         Probate Estates and Trusts
                                                         Hospitals and Health Care Providers
  ACCOMPLISHMENTS                                        Timeshare Developers
     South Florida Legal Guide—
           Top CPA in Li ga on Support – mul ple years
     South Florida Business Journal—
                                                         ARTICLES, SEMINARS AND PRESENTATIONS
           Li ga on Key Partner Award Winner
                                                         “Fiduciary Responsibilities of Professionals in
                                                         Bankruptcy” - 2011 Central Florida Bankruptcy Law Association
  EDUCATION / QUALIFICATIONS / ACCREDITATIONS            Annual Seminar

  CPA - Certified Public Accountant                      “Taxation Issues Facing the Domestic Relations Practitioner” - Palm
  CIRA - Certified Insolvency and Restructuring          Beach County Bar Association Family Law CLE Committee Seminar
         Advisor
                                                         “Privacy and Security Issues in a Trustee’s Office and ECF Environ-
  CFE - Certified Fraud Examiner                         ment” - National Association of Bankruptcy Trustees
  ABV - Accredited in Business Valuation
  PFS - Personal Financial Specialist                    “Keep Your Client From Drowning: How to Deal With Bankruptcies
  CFF - Certified in Financial Forensics                 and Foreclosures—American Academy of Matrimonial Lawyers

                                                         “The Financial Distressed Client: Positioning the Client for Modi-
  Chapter 7 Panel Trustee                                fication, Bankruptcy and/or Foreclosure—FICPA Ethics Presenta-
                                                         tion, Florida Fiduciary Forum, 2011

  University of Buffalo, New York —                      “Recovering Value: Effective Strategies to Recover Assets (Once
  M.B.A., Accounting and Business Administration,        Found)” - The Offshore Alert Conference, April, 2018
  B.S., Accounting—Magna Cum Laude
                                                         “Bankruptcy Estate Taxation under the Tax Cuts and Jobs Act” -
                                                         National Association of Bankruptcy Trustees (NABT) Annual Confer-
                                                         ence, August 2018

                                                         “Commercial Fraud Issues: Don’t Confuse a Financial Audit with a
  PROFESSIONAL AND CIVIC ASSOCIATIONS                    Fraud Audit” - American Bankruptcy Institute Newsletter, 2019

  American Institute of Certified Public Accountants     “Strategies in Bankruptcy Court” - Dade Legal Aid Seminar—
  (AICPA)                                                Moderator—January 2020
  Florida Institute of Certified Public Accountants
  (FICPA)                                                “Valuation Testimony” - American Bankruptcy Institute - 2020
  Association of Insolvency and Restructuring Advisors   Spring Southeast Virtual Bankruptcy Workshop.
  (AIRA)
  Association of Certified Fraud Examiners (ACFE)        “Identification of Assets and Impact of Divorce and Separation on
                                                         Recoverable Assets” - CV Region 21 U.S. Trustee Training—
  American Bankruptcy Institute (ABI)                    November 2020
  National Association of Bankruptcy Trustees (NABT)




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                                                     BARRY E. MUKAMAL ‐ RECENT TESTIMONY HISTORY
ID                          Case Name                              Court                 Case Number             Judge        Type of Testimony     Year
1    DAVID C ARNOLD                                       MIAMI‐DADE              12‐13962 ca 40                             DEPOSITION/TESTIMONY   2014
     V
     ASSOCIATION LAW GROUP, ET AL
2    TODD LARY/STARBRIGHT                                 SOUTHERN DISTRICT OF    1:11 CV 23820                              TRIAL TESTIMONY        2014
     V                                                    FLORIDA
     BOSTON SCIENTIFIC CORPORATION
3    AMERICAN EDUCATIONAL ENTERPRISES, LLC                MIAMI‐DADE COUNTY       CASE #02‐23922 CA 09                       DEPOSITION             2014
     v
     THE BOARD OF TRUSTEES OF THE INTERNAL
     IMPROVEMENT TRUST FUND
4    P & S ASSOCIATES GENERAL PARTNERSHIP                 BROWARD COUNTY          CASE #12‐028324(07)                        TRIAL TESTIMONY        2014
     & S & P ASSOCIATES GENERAL PARTNERSHIP
     V
     ROBERTA P. ALVES, ET AL
5    IRONSHORE INDEMNITY INC. et al                       BANKRUPTCY COURT        12‐CV‐61678‐MGC                            DEPOSITION             2014
     v                                                    SOUTHERN DISTRICT OF    12‐CV‐61753‐WJZ
     BANYON 1030‐32 LLC ET AL, ROBERT FURR TRUSTEE        FLORIDA                 12‐CV‐61813‐KMW
6    PATRICIA MONTES DE OCA                               CIRCUIT COURT ‐         2012‐021622‐FC‐04                          TESTIMONY              2014
     v                                                    MIAMI‐DADE COUNTY,
     JOSE JUAN RENTERIA                                   FLORIDA
7    BANNING LARY, MD, ET AL.                             US DISTRICT COURT       1:11‐cv‐23820‐O'SULLIVAN      O'SULLIVAN   DEPOSITION & TRIAL     2014
     V.                                                   SOUTHERN DISTRICT OF
     BOSTON SCIENTIFIC CORPORATION                        FLORIDA

8    TELTRONICS, INC.                                     BANKRUPTCY COURT MIDDLE 8:11‐BK‐12150‐KRM                KRM       DEPOSITION & TRIAL     2015
                                                          DISTRICT OF FLORIDA


9    ARAZOZA BROTHERS CORP.                               CIRCUIT COURT           13‐1908 CA 25                              DEPOSITION             2015
                                                          MIAMI‐DADE COUNTY,
                                                          FLORIDA

10   DYADIC INTERNATIONAL, INC.                           CIRCUIT COURT           50 2009 CA010680 XXXX MB AA                DEPOSITION             2015
     v.                                                   PALM BEACH COUNTY,
     ERNST & YOUNG, LP, et al.                            FLORIDA

11   TELTRONICS, INC.                                     BANKRUPTCY COURT MIDDLE 8:11‐BK‐12150‐KRM                KRM       DEPOSITION & TRIAL     2015
                                                          DISTRICT OF FLORIDA


12   RONALD DEMASI                                        BANKRUPTCY COURT MIDDLE 8:13‐BK‐08406‐MGW               MGW        DEPOSITION & TRIAL     2015
                                                          DISTRICT OF FLORIDA


13   XTEC, INC.                                           CIRCUIT COURT           13‐38362 CA 09                             DEPOSITION & TRIAL     2015
                                                          MIAMI‐DADE COUNTY,
                                                          FLORIDA
                           Case 0:21-cv-60125-RNS Document 197-2 Entered on FLSD Docket 08/08/2023 Page 21 of
                                                                 26

                                                      BARRY E. MUKAMAL ‐ RECENT TESTIMONY HISTORY
ID                            Case Name                              Court                     Case Number      Judge      Type of Testimony       Year
14   LINDA S. ORTIZ                                        CIRCUIT COURT               2014‐8076‐FC04 (39)                TRIAL                    2015
     V.                                                    11TH JUDICIAL CIRCUIT       2014‐022865‐FC04 (39)
     HECTOR P. ORTIZ                                       MIAMI‐DADE COUNTY, FL
15   FUTURESELECT PORTFOLIO MANAGEMENT, INC.               SUPERIOR COURT OF THE       10‐2‐30732‐0 SEA                   DEPOSITION & TRIAL     2015/2016
     V.                                                    STATE OF WASHINGTON
     TREMONT GROUP HOLDINGS, INC.

16   TAYLOR, BEAN & WHITAKER PLAN TRUST                    11TH JUDICIAL CIRCUIT       13‐33964 (40)                      DEPOSITION             2015/2016
     V.                                                    MIAMI‐DADE COUNTY
     PRICEWATERHOUSECOOPERS, LLP

17   AGRO SUPPLY, S.A.                                     11TH JUDICIAL CIRCUIT       13‐15713 CA 01                     DEPOSITION & TRIAL     2015/2016
     V.                                                    MIAMI‐DADE COUNTY
     AGRITRADE, LP
18   DISABILITY LAW CLAIMS, PA, ET AL.                     DISTRICT COURT SOUTHERN 14‐6177‐CIV‐DIMITROULEAS               DEPOSITION             2015/2016
     V.                                                    DISTRICT OF FLORIDA     /SNOW
     IM SOLUTIONS, LLC
19   MAJORCA ISLES MASTER ASSOCIATION                      BANKRUPTCY COURT            12‐19056 BKC AJC          AJC      TRIAL                  2015/2016
                                                           SOUTHERN DISTRICT OF
                                                           FLORIDA
20   CITY NATIONAL BANK OF FLORIDA                         CIRCUIT COURT               2015‐029121‐CA‐01(22)   HANZMAN    FORENSIC EXAMINATION     2016
     V                                                     11TH JUDICIAL CIRCUIT
     MAC‐ACCESS, CORP                                      MIAMI‐DADE COUNTY, FL
21   LAPCIUC                                               CIRCUIT COURT                                                  TRIAL                  2016/2017
     V.                                                    11TH JUDICIAL CIRCUIT
     LAPCIUC                                               MIAMI‐DADE COUNTY, FL
22   LAMINGTON RESOURCES, INC.                             INTERNATIONAL CHAMBER       CASE NO. 20786/RD                  DEPOSITION             2016/2017
     V.                                                    OF COMMERCE
     BURGER KING CORPORATION,                              INTERNATIONAL COURT OF
     V.                                                    ARBITRATION
     BK CENTROAMERICA CAYMAN LTD, ET AL.
23   PEDRO A. TORRES                                       CIRCUIT COURT               2015‐014693‐CA(20)                 DEPOSITION & TRIAL     2016/2017
     V.                                                    11TH JUDICIAL CIRCUIT
     ASTOR PROPERTY HOLDINGS, LLC, ET AL.                  MIAMI‐DADE COUNTY, FL
24   S.R. KALB AND ASSOCIATES, INC.                        CIRCUIT COURT               2016‐001586‐CA‐01                  RECEIVER               2016/2017
     V.                                                    11TH JUDICIAL CIRCUIT
     2250 & 2233 NW 77 TER, LLC AND MICHAEL I. ROSE        MIAMI‐DADE COUNTY, FL
25   REMOS BUILDING & DEVELOPMENT CORPORATION              CIRCUIT COURT OF THE 17TH 05‐05212 (02)                        DEPOSITION               2017
     V.                                                    JUDICIAL CIRCUIT, IN AND
     CHAPEL TRAIL ASSOCIATES, LTD                          FOR BROWARD COUNTY, FL
26   LARRY V. GORDON                                       IN THE CIRCUIT COURT OF     2014‐CA‐008927 (AD)     BARKDULL   DEPOSITION               2017
     V.                                                    THE 15TH JUDICIAL CIRCUIT
     ROBERT FISHMAN                                        IN AND FOR PALM BEACH
                                                           COUNTY, FLORIDA
                            Case 0:21-cv-60125-RNS Document 197-2 Entered on FLSD Docket 08/08/2023 Page 22 of
                                                                  26

                                                     BARRY E. MUKAMAL ‐ RECENT TESTIMONY HISTORY
ID                                Case Name                        Court                    Case Number           Judge          Type of Testimony   Year
27   GARY DEAR, as Class Representative                   UNITED STATES DISTRICT  15‐60474‐CIV‐COHN/SELTZER       COHN          TRIAL                2017
     V.                                                   COURT SOUTHERN DISTRICT
     Q‐CLUB HOTEL, LLC                                    OF FLORIDA
28   BAHAMIAN VILLAGE, LLC                                CIRCUIT COURT             13‐34551‐CA‐09                              DEPOSITION           2017
     V.                                                   11TH JUDICIAL CIRCUIT
     FPL                                                  MIAMI‐DADE COUNTY, FL
29   DAVID L. CLARKE, ET AL.                              CIRCUIT COURT             14‐21513‐CA‐09               BAGLEY         DEPOSITION           2018
     V.                                                   11TH JUDICIAL CIRCUIT
     TWO ISLANDS DVELOPMENT CORP. AND                     MIAMI‐DADE COUNTY, FL
     PRIVE DEVELOPERS LLC AND TRUST 75 LT21
30   PHILIP VON KAHLE, CURATOR                            CIRCUIT COURT             16‐021099‐CA‐01             THORNTON        DEPOSITION           2018
     V.                                                   11TH JUDICIAL CIRCUIT
     FIDELITY AND DEPOSIT COMPANY OF MARYLAND             MIAMI‐DADE COUNTY, FL
31   HAROUT SAMRA                                         CIRCUIT COURT             14‐22854‐CA‐40               THOMAS         TRIAL                2018
     V.                                                   11TH JUDICIAL CIRCUIT
     VICKEN BEDOYAN, WPM MIAMI, INC, et al.               MIAMI‐DADE COUNTY, FL
32   JOEL BETH NAVRATIK, et al.                           CIRCUIT COURT             17‐019695‐CA‐01(44)          Thomas         DEPOSITION & TRIAL   2018
     V.                                                   11TH JUDICIAL CIRCUIT
     JON J. RAPPAPORT AND PET MEDICAL CENTERS, LLC        MIAMI‐DADE COUNTY, FL
33   STORATI                                              CIRCUIT COURT             14‐27987                     Butchko        DEPOSITION           2018
     V.                                                   11TH JUDICIAL CIRCUIT
     TOTAL GSM, LLC                                       MIAMI‐DADE COUNTY, FL
34   CONTRAZZA INTERNATIONAL CONSTRUCTION, INC.           CIRCUIT COURT 9TH JUDICIAL 2015‐CA‐008342                             DEPOSITION & TRIAL   2018
     V.                                                   CIRCUIT FOR ORANGE
     UNIVERSAL TOWERS CONSTRUCTION, INC.                  COUNTY, FLORIDA
35   SHOW ME HOSPITALITY, LLC                             UNITED STATES DISTRICT  17‐22679‐CIV                Martinez‐Otazo‐   DEPOSITION           2019
     V.                                                   COURT SOUTHERN DISTRICT                                  Reyes
     TIM HORTONS USA INC.                                 OF FLORIDA
36   WAVE LENGTHS HAIR SALON OF FLORIDA, INC              UNITED STATES DISTRICT   2:16‐cv‐00206‐SPC‐MRM                        DEPOSITION           2019
     V.                                                   COURT MIDDLE DISTRICT OF
     CBL & ASSOCIATES PROPERTIES, INC.                    FLORIDA
37   BOUDKO, POLINA                                       CIRCUIT COURT             17‐04537‐FC‐04                Young         DEPOSITION           2019
     V.                                                   11TH JUDICIAL CIRCUIT
     BUYANOV, DMITRIY                                     MIAMI‐DADE COUNTY, FL
38   STEVEN R. SCHAFER, ET AL.                            CIRCUIT COURT             17‐021621‐CA‐43              Butchco        DEPOSITION           2019
     V.                                                   11TH JUDICIAL CIRCUIT
     ROBERT A. DICRISCI, ET AL.                           MIAMI‐DADE COUNTY, FL
39   SCHECHTER OPERATING CAPITAL LLP                      CIRCUIT COURT             50‐2016‐CA‐8692                             DEPOSITION           2019
     V.                                                   15TH JUDICIAL CIRCUIT
     BAINBRIDGE INVESTOR, LLC                             PALM BEACH COUNTY, FL
40   IRONSHORE INDEMNITY INC. et al                       BANKRUPTCY COURT          12‐CV‐61678‐MGC                Ray          TRIAL                2019
     v                                                    SOUTHERN DISTRICT OF      12‐CV‐61753‐WJZ
     BANYON 1030‐32 LLC ET AL, ROBERT FURR TRUSTEE        FLORIDA                   12‐CV‐61813‐KMW
                          Case 0:21-cv-60125-RNS Document 197-2 Entered on FLSD Docket 08/08/2023 Page 23 of
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                                                        BARRY E. MUKAMAL ‐ RECENT TESTIMONY HISTORY
ID                           Case Name                                     Court                    Case Number   Judge     Type of Testimony   Year
41   BOYWIC FARMS, LTD                                            AMERICAN ARBITRATION      01‐18‐0001‐9008                DEPOSITION           2019
     V.                                                           ASSOCIATION
     BRITT L. WEAVER
42   MANDARIN LAKES NEIGHBORHOOD HOMEOWNERS' ASSOCIATION,         CIRCUIT COURT             18‐039950‐CA‐01                DEPOSITION           2019
     INC.                                                         11TH JUDICIAL CIRCUIT
     V.                                                           MIAMI‐DADE COUNTY, FL
     RAFAEL ROCA, AMALIA PAPADIMITRIOU, ROBERT BENWARE, RAUL
     SANCHEZ AND D.R. HORTON, INC.
43   HADAD CONSULTING, LLC                                        CIRCUIT COURT OF THE 17TH 17‐019215                      TRIAL                2020
     V.                                                           JUDICIAL CIRCUIT, IN AND
     URBAN FARMERS, INC                                           FOR BROWARD COUNTY, FL
44   IMC GROUP, LLC, ET AL.                                       CIRCUIT COURT             18‐3297‐CA‐01 (43)             DEPOSITION           2020
     V.                                                           11TH JUDICIAL CIRCUIT
     COMVEST IMC HOLDINGS, LLC ET AL.                             MIAMI‐DADE COUNTY, FL
45   HAROUT SAMRA                                                 CIRCUIT COURT             14‐22854‐CA‐40        THOMAS   TRIAL                2020
     V.                                                           11TH JUDICIAL CIRCUIT
     VICKEN BEDOYAN, WPM MIAMI, INC, et al.                       MIAMI‐DADE COUNTY, FL
46   PAYCARGO, LLC                                                UNITED STATES DISTRICT  1:19‐CV‐22995‐LFL                DEPOSITION & TRIAL   2021
     V.                                                           COURT SOUTHERN DISTRICT
     CARGOSPRINT LLC and JOSHUA WOLF                              OF FLORIDA
47   EDWARD KESSLER                                                 CIRCUIT COURT OF THE 17TH CACE20004101                 DEPOSITION           2021
     V.                                                             JUDICIAL CIRCUIT, IN AND
     JAMES BLACKBURN, KERRY KENWRIGHT, CITYLIFE SOCIAL, LLC, et al. FOR BROWARD COUNTY, FL
Case 0:21-cv-60125-RNS Document 197-2 Entered on FLSD Docket 08/08/2023 Page 24 of
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                                                                       Attachment 2



                                        CURRICULUM VITAE OF
                                           MARK PARISI

  Mark Parisi is a director in the firm’s Advisory Services Practice. He has over 10 years’ experience
  providing litigation support, expert witness, financial modeling, data analytics and forensic
  investigation services.


  PROFESSIONAL EXPERIENCE

     •   Financial specialist with expertise in forensic accounting and financial analysis, specializing
         in bankruptcy, litigation support, and expert consulting services. Provided expert witness,
         litigation support, financial modeling, data analytics, and forensic investigation services for
         over one hundred civil and criminal cases.

     •   Delivered damage calculation services involving economic damages, shareholder disputes,
         solvency analyses (ability to pay, fraudulent conveyance, solvency), class actions, Ponzi
         schemes, receiverships, lost profits, preferential payments, hedge fund compliance with net
         asset value calculations, personal injury, fraud, bankruptcy, digital marketing, and Lanham
         Act damages.

     •   Collaborated effectively with the Federal Bureau of Investigation (FBI), United States
         Attorneys' Offices, Federal Trade Commission (FTC), Commodity Futures Trading
         Commission (CFTC), and the Securities and Exchange Commission (SEC) on complex cases.

     •   Identified critical areas for improvement and assessed the impact of current business
         processes using skills in business analytics, Python, SQL, Advanced MS Excel, PowerQuery,
         PowerPivot, Power BI, database management, and project management.


  EDUCATIONAL BACKGROUND AND CREDENTIALS

  Certifications:

     •   Certified Public Accountant (CPA)
     •   Certified Insolvency and Restructuring Advisor (CIRA)
     •   Certified Fraud Examiner (CFE)
     •   Cryptocurrency Tracing Certified Examiner (CTCE)

  Education:

     •   Nova Southeastern University, Davie, Florida
         Masters of Business Administration in Business Intelligence and Analytics
     •   Florida State University, Tallahassee, Florida
         Bachelors of Science in Accounting and Finance



                                               Page 1 of 2
Case 0:21-cv-60125-RNS Document 197-2 Entered on FLSD Docket 08/08/2023 Page 25 of
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  PROFESSIONAL MEMBERSHIPS

     •   Association of Insolvency and Restructuring Advisors (AIRA)
     •   Association of Certified Fraud Examiners (ACFE)
     •   Florida Institute of Certified Public Accountants (FICPA)

  ARTICLES

     •   Cryptocurrency Investment Schemes: Red Flags and Evaluating Potential Risk, November 29,
         2022




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                             Case 0:21-cv-60125-RNS Document 197-2 Entered on FLSD Docket 08/08/2023 Page 26 of
                                                                   26

                                                                  MARK PARISI - RECENT TESTIMONY HISTORY
                         Case Name                                        Court                     Case Number                Attorney             Type of Testimony   Year
VINCENT GERARDI ET AL.                                          CIRCUIT COURT                                             Herbert M. Stettin, Esq. Deposition           2017
V.                                                              15TH JUDICIAL CIRCUIT                                       Herbert Stettin PA
JOE SETA ET AL.                                                 PALM BEACH COUNTY, FL
LEWIS GOPHER JR.; NANCY JIMMIE,                                     CIRCUIT COURT           CACE 16-000592 (19)             Irwin Gilbert, Esq.   Deposition            2019
PARENT TO MINORS M.J., M.J., M.J.; AND                              17TH JUDICIAL CIRCUIT                                  Conrad and Scherer
QUENTIN TOMMIE,                                                     BROWARD COUNTY, FLORIDA
V.
WELLS FARGO BANK, N.A. ET. AL.
JILL HARRISON CURRINGTON A/K/A, BRENDA JILL CURRINGTON; and CIRCUIT COURT                   CACE-19-015251 Division: 21     Irwin Gilbert, Esq.   Deposition            2022
JOAN HARRISON NOSS A/K/A, MARGARET JOAN NOSS,                       17TH JUDICIAL CIRCUIT                                  Conrad and Scherer
V.                                                                  BROWARD COUNTY, FLORIDA
CAROLYN KALAGHER F/K/A CAROLYN, MAINES HARRISON, as Trustee
under the BENJAMIN F. HARRISON, JR. REVOCABLE TRUST
AGREEMENT, DATED MARCH 26, 1999; CAROLYN KALAGHER F/K/A
CAROLYN MAINES HARRISON A/K/A CAROL MAINES HARRISON,
INDIVIDUALLY; BECKY YOUNG IRVINE; SCOTT YOUNG HARRISON;
MORGAN STANLEY PRIVATE BANK, NATIONAL ASSOCIATION;
ROGERS, MORRIS & ZIEGLER, LLC, a Florida limited liability company;
AND PHILLIP R. SEMENICK

COLE-PARMER INSTRUMENT                                          DISTRICT COURT FOR THE      0:21-cv-61756-GOODMAN          Jorge Espinosa, Esq.   Deposition            2023
COMPANY, LLC,                                                   SOUTHERN DISTRICT OF                                        GrayRobinson, PA
V.                                                              FLORIDA
PROFESSIONAL LABORATORIES, INC.,
